
PER CURIAM.
Appellant seeks review of a trial court denial of his motion filed pursuant to Rule 3.850, F.R.Crim.P. That portion of the record attached to the denial conclusively shows that appellant pled guilty to a charge of violation of probation in return for a 10 year sentence, and that the trial court sentenced him in accordance with the plea bargain. Our affirmance of the order appealed from is without prejudice to appellant’s right to seek relief through appropriate administrative action in the event Department of Correction files inaccurately reflect a greater sentence. AFFIRMED.
*1270ROBERT P. SMITH, Jr., C.J., and LARRY G. SMITH and THOMPSON, JJ., concur.
